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                                                                               'J                     '
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                                                                                                                   j
   PaulKing                                                                                                        i
l Plaintiff, Pro-se                                                          J,
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5
                            SOUTH ERN D ISTRICT CO URT OF FLO RIDA

6

7 PAU L KIN G ,AN INDIVIDUAL,
8    Plaintiff,                                       IN DIVIDU AL CLA IM S
9
     VS.
10                                                    FRA UD ;INTEN TION A L M ISREPRESENTATION ;
     K ING S GA RD EN ,LLC,A CALIFORNIA
11   CORPORATION ',

12   KINGS GARDEN , Ixc,A NEVADA                      RA CK ETEERING ;FORGERY .BRIBERY ,TH EFT,
     coRpoRxvlox;                                     SELF-D EA LIN G,FRAUD
13

:( M ICH AEL KIN G,AN INDIVIDUAL'
                                ,
1,   VENA BLE LLP,A CORPORATION;

16

17 D EFENDAN TS
18

19 JURISD ICTIO N AND V ENU E
2:
                  a. Southern FloridaD istrictCoul'tisproperbecause:
21                       i. Plaintiffhaslived andmaintained ahomestead (untilforgery/fraudoccun-ed
                            December2020by SophiaKing quitclaiming Plaintiffshomesteaded$750,000
22                          condoof11yearstoMichaelKingfor$0),
                                                             .
23                       ii. Plaintiffhasm aintained a Florida driverslicense ata11tim esofthese claim s;
                        iii. Jurisdiction isproperunderUS Code 96 Racketeering and 18 U S Code 1001
24                           Fraud.
2s

26

27

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                                    KING V KING ET AL,COM PLAINT-1
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        1.      IN DIV ID UAL C LA IM S A ND PRA YER FO R RELIEF

                A. FRA UD,IN TENTIO N AL M ISREPRESENTATIO N A GA IN ST M ICH AEL KING ,
                     KINGS GARDEN LLC AND KINGS GARDEN INC (COLLECTIVELY,$iKG'')
4
     FRAUD CLAIM :M ichaelKing(:dKing'')fraudulently induced PlaintiffPaulKing (tiplaintiff')tobe
5
     foundersofKingsGarden (:ûKG'')repeatingtt50/50,whateverIhaveyou have.W espliteverything.''
6
     The com plaintwillshow King neverintended to keep thatprom ise and in factleftPlaintiffwith nothing

     while am assing personalrealestatew orth over$20M .
3               B. M CK ETEERING AG AINST K ING ,K IN G S G ARDEN LLC,K ING S G A RDEN

                     INC ,A ND VENABLE LLP
11
     R ACK ETEER ING C LA IM :O verthe next6 yearsand to presentday,King has used hisresourcesand

     theresourcesofK G to help him trick,m anipulate,and stealfrom Plaintïffin an effortto leave him

     bankruptand unable to fightforhisrightfulownership.


16
                C. PRA YER FO R RELIEF FO R FR AUD ;IN TEN TION AL

     M ISREPRESEN TA TIO N AG AINST K IN G A ND K G :Plaintiffseekscompensatory dam agesforthe
18   50/50 partnerspromisewhichneedstobecalculatedand isexpectedtobenotlessthan$20M andlikely

     $100M ormore.
                D. PR AY ER FO R RELIEF FO R RA CK ETEERING FR OM KING AN D KG :Plaintiff

     seekspunitive dam agesof3X com pensatory dam agesin orderto properly punish theblatantdisregard

     forthe law by K ing and the ten-oristic ability to spread the virusto othersthrough bribery and
24
     racketeering.
25
                E. PRAY ER FO R RELIEF FO R RA CK ETEERING FRO M V ENA BLE LLP
26
     (RVENABLED :Ifitisfound thatPlaintiffisunabletocollectany amountfrom KG andKingdueto
     Venable'sactions(i.e.,statuteoflimitationsorothercausesexistthatweredirectlycausedbyVenable)



                                    KING V KING ET AL,COM PLAINT-2
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      to intentionally m islead the lawsuitthey w ere hired for,Plaintiffpraysforreliefforthedam agesow ed t
l
2 be due by Venable forboth com pensatory and punitive dam ages.Otherw iseno prayerforreliefexists

3 againstV enable asthose forlegalm alpractice are already soughtin related case //1:2l-24470.
4

5
      PA RT 1:KING S GARDEN FRA UD AN D RACKETEERIN G HISTORY,TIM ELIN E AN D
 6
 7 EXH IBITS

 8
      A      K IN GS GA RD EN BA CKGROUN D
 9

10 B .       KIN GS GA RD EN REA L ESTATE
11
      C.     M CLA NE AG REEM EN T
12

13 D .       PPP LOA N FRAU D
14
15 E.        SELF-DEA LIN G V1A RELATED EN TITIES

16
      F.     IDEN TITY TH EFT AND FORGERY
17

18 A :K IN G S G ARD EN BA CK GR O UN D
19
             1.On oraboutAugust2015 the two brothersm oved to San Diego with King m oving a week
20
      priorand putting a depositforPlaintiffin the sam e building despite Plaintiffwanting to check thingsout
21

22 beforedeciding where to live.

23           2. King already knew thebusinesswould be in Palm Springsand planned in advance a w ay to
24
      keep Plaintiffata distance from the business,inconveniencing him selfand hisfam ily in orderto do so.
2ë5

26
      Accordingtothe2019ProposedMergerDocuments(ttMergerDocs'')KinghasbeenCEO ofrelated
27 entitiessince2014 (Exhibit1,(p100)ofM ergerDocs).
28




                                    KIN G V KING ET AL,COM PLAINT-3
 Case 1:22-cv-20016-JLK Document 1 Entered on FLSD Docket 01/03/2022 Page 4 of 19




            3.Plaintiffand King agreed they w ould each investwhateverthey had available to getthe

2             started.Plaintiffinvested $200,000 and Kingprom ised to investoncehisFo14 Lauderdale

                sold.
4
            4.Plaintiffshared his vision w ith King thatifthey were able to buy buildingscheap in

     anticipation ofcannabiszoning,oncethey w erezoned,approved and licensed,they could refinance and
6
     be self-sufficientw ithoutneeding any outside capital.

8           5.Priorto seeing the plan through,Plaintiffw aspushed outby K ing with the assistance ofother
9    m em bersofKG.

            6.The firsttim e Plaintiffreceived any com m unicationsfrom KG ChiefFinancialOfficer Lauri

     Kibby (t*Kibby'')wasAugust16,20l9 when King fonvardedan emailfrom Kibbyrequesting signatures
12

13   on theM ergerDocs(Exhibit2).
14          7.A ccording to the M ergerDocs,post-M ergerKing owns 1365.69 Class B sharesand l8.76

     ClassA shares(Exhibit3,page 195ofM ergerDocs).
16
            9.According to theM ergerDocs,Plaintiffowns50ClassB shares(Exhibit4,Page 197of
17

18
     M ergerDocs).
19          10.Plaintiffdid notsign them ergerdocsbutthe m ergerdocsw ere sentback to K G signed from

20   Plaintiffs em ailaddresson Septem ber4,2019.Plaintiffassertshis signature w asforged by an

     accompliceofKing (Exhibit5)and willalsopointto atrackrecord offorgery andidentity theftby
     King in thiscom plaintand attached asthe lastexhibitis crim inalhistory ofKing and accom plicesused
23

24
     againstPlaintiff,Exhibit84.

25

26

27
     B.K ING S G AR DEN REAL ESTA TE
28




                                   KING V KING ET AL,COM PLAINT-4
 Case 1:22-cv-20016-JLK Document 1 Entered on FLSD Docket 01/03/2022 Page 5 of 19




            1.A ccording to publicly available infonnation,6 K G buildingsare sold forapproxim ately

     $69.9M between2019and2020(Exhibit6).
            2.According to the M ergerdocs,K G facilitiesinclude 1lbuildings,4 in CathedralCity
4
     (Exhibit7)and 7in Palm Springs(Exhibit8)al1ofwhich arenow leased byKG.
            3.ltisunclearwhathappened to the other5 buildings.

            4.AccordingtotheM ergerDocs,Kinghashelda salary of$290,000 in2017,$664,461

8    in 2018 (Exhibit9)andsigned as-yearemploymentagreementfor2019-2023 of$600,00annually

     (Exhibit10).
10
            5.A Trump application forM ichaelandM ariannaking (tiM arianna'')in December2020 shows
     Kingmakes$400kannually (Exhibit11).
            6.Priorto m oving to California in 2015,upon inform ation available to Plaintiff,King held m ost

     ofhisnetw ol'
                 th in 3 realestate propertiescollectively wol'th notlessthan l.5M and notm ore than

     $2.5M .
16
            7.According to public records,King now haspersonalrealestate in hisnam e worth no lessthan

:8
     $20m (Exhibit12)andtheseholdingsincludeaW estHollywoodhomepurchased for$12.875M

19   betweenDecember2018andJune2019(Severalpublicrecordsvaryon dates,Exhibit13 showsFeb

     2019).
            8.According to them ergerdocs,King also gave KG aloan of8.5m (Exhibit14).
            9.P believesand assertsKing used the sale ofKG realestateassetsto em bezzle ratherthan

     putting proceedsback into K G.



26   C:M CLANE AG REEM EN T

              1. AccordingtoExhibit8mentionedabove,19533M clane(tûMc1ane'')isthe7thlistedbuilding
28




                                   KING V KING ET AL,COM PLAINT-5
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      forKG in Palm Springs.
1

2            2 OnFebruary 14,2018,King sendsan emailto Dim itryRom antsoff(kkoimitry'')withsubject
              .


3
 4 line çRe:Revised FinalPS IV 4 Operating Agreement-CM CIM cLaneGroup LLC'(Exhibit15)
5
             3. ln theemail,King offersDimitry25% fora $3M investm ent.
 6

 v           4. OnApril30,2018KingsendsanemailwithsubjectlineûO.A.,GIA,signedbyM eade'with
 8
      an operating agreementattached (Exhibit16)
 9

10           5. W hile Chairm an and Ceo ofKG,King offersto Dim itry a dealwhere Dim itry willreceive
11
             6. 25% equity,King 37.5% and M ichaelM eade(û1M eade'')willreceive37.5% equity in M clane
12

13                (Exhibit17).
14
             7. KG isnotm entioned in thisagreem ent.
l5

l6           8. P believesand assel'
                                   tsthatKing breacheshisfiducial'
                                                                 y duty to KG .
17
             9. P believesthatKibby asCFO particularlyand CharlesKieley(ûtloieley'')asCOO arelikely
l8

l9 eithertaking payoutsto look the otherway orare com plicitin structuring the deals.
2:)

21

22
      D :PPP LO AN FM UD
23
24           1. AccordingtoMergerDocs,KingandKibbyownDesertPayrollSolutions(téDPS'''Exhibit

25 18)   .


26
27           2. On Jan l4,2021 KG accountantGreg Barton CPA associate ShaunaW atkinsfslesan updated

28
      documentforDPSwiththesecretaryofstate(Exhibit19)


                                  KING V KING ET AL,COM PLAINT-6
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            3. ln 2016,Greg Barton isagenton record forD PS w ith a differentaddressthan any ofthe KG
1

2
     addresses(Exhibit20).
3

4          4. AccordingtotheSBA,whethertier1(direct,plant-touching)ortier2(indirect,non-plant

     touching),sincemarijuanaisfederallyillegalthesebusinessesarenoteligibletoobtaingovernmentloan
6
     (Exhibit21).

8           5. Accordingtofederalpay.org,DPSreceivesapproximately$1.37M (Exhibit22).

            6. ln addition to the im m ediate com plicaticm sinherentw ith defrauding the U S G overnm ent,
10

11
     King and Kibby show a pattern ofdisregard forthe law in favorofself-interest.
12

13
            7. Furthertroubling,KG 's accountantaiding and abetting in the fraud shows King isable to

14
     m anipulateprofessionalsas ithelpshiscause.
15

16

     E:K ings G arden Non-A rm s Length Transactions
18
        1. A ccording to page 33 ofthe KG M ergerD ocs,severalnon-arm slength transactions are noted
19

20   including(Exhibit23):
21
                       @ DPS,owned and m anaged by K ing and K ibby to providepayrollservicesto KG ;
22

23                     * Duard Ventures(ttDV''),ownedandmanagedby Kibbyand Kibbytoprovide
24
                           selwicesto KG ,and;
25

26                     . C K Endeavors(ûtCKE'') acompany owned and managedbyKieley.

        2. King,Kibby and K ieley each receive salariesthrough K G asexecutivesofKG and asdetailed in
28




                                   KIN G V KING ET AL,COM PLAINT-7
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        ExecutiveCompensationchal'
                                 t(Exhibit24)aswellasoptionsandbonusesbased onperformance.

        3. King,K ibby and K ieley also signed employm entagreem entsgoing forward fora 5 yearperiod


4    wheretheyareeach toreceiveannualsalariesof$600,000(Exhibit25).




     F:Identity Theftby K ing and Sophia lking
8
        1. PlaintiffallegesthatKingand SophiaKing ($:S.Kinf')orchestrated aplan to beabletouse
9

     Plaintiffs'identity to forge docum entsand open and close accounts.
11
        2. Plaintiffsfu11nam e wasPaulKing,untiloneday Sophia suggested adding çtM ichael''as a

     m iddle nam e.Sophia pleaded thatshem issesherfathervery m uch and itw illm akeherhappy and bring
14
     Plaintiffgood luck.

        3. Plaintiffnow believesthisw asa schem e so M ichaelKing isableto use Plaintiff's

     identity when itbenefitshim and then to setPlaintiffup when itbenefitsthem .

        4. ln an em ailfrom K ing to Plaintiffon M arch 5,2018,King tellsPlaintiffthathem ay wantto

     update hisem ailforan accounttçllannalking LLC'',an entity owned and controlled l00% by Plaintiff

     (Exhibit26)thatPlaintiffneverauthorizedKing toreceivestatementsfor.

        5. lnanemailfrom KingtoPlaintiffonJune30,2018,KingsendsAmericanExpress(ûûAmex'')

25             screenshotswriting to Plaintiffibs'ou m ay w antto callAm ex to take m y num beroffyourcc

26
            Juststartedshowingup.''(Exhibit27)

        6. ln an em ailfrom K ing to Plaintiffon April14,20l8,King sendsPlaintiffthe new usenzam e
28




                                   KIN G V KING ET AL,COM PLAIN T-8
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     andpassword foranAmexunderPlaintiffsnameand social(Exhibit28).Theseemailsmakesense
     m uch laterwhen PlaintiffseesthatCannafornia,which wasnotrelated to K ing,through D im itry,w as

     payingforKing'sand wifeM arianna's(Exhibit29)Am ericanExpressbillsandthen recognizingthe
 4
     paym entsasloansto Plaintiffand forwhich Rom an and Dim itry w ould latersue Plaintiffforan alleged

     loan thatthey gave Plaintiffon anote thatKing signed forging Plaintiffssignature.

          7. Asthe evidence show s
 8
     a.        Exhibit30-M ichaelKing shopsusing Am ex

     b.        Exhibit31-Am erican expressbillsinclude M arianna King

     c.        Exhibit32-Now they are classified asloansm ade to Kanna King from Cannafornia,Plaintiffs

     new com pany

     d.        Exhibit33-CanadianCPA Brian King (norelation)to Dim itrydiscussing same

     e.        Exhibit34-GreenspoonM arder(tiGreenspoon'')islaterbribedtohelp coveritup byaccessing
17
     D im itry's em ailand deletesdam aging em ailsfrom orto Dim itry,such asthe responsesto Brian's
18
     em ail.

          8. Dim itry latertellsBrian the fundsw ere investm entsfrom his com pany G lA investm ents,using it
21
     as leverage to acquire sharesin Cannafornia,essentially tripledipping along w ith King.

          9. Further,3540 N Anza Road,a KG building,shows up on a currentcreditreportforPlaintiff
24

25   (Exhibit35).
26
          l0.1401lnvestm ents,a com pany owned by Plaintiff,recently hasitsm ailing addresschanged to S

28   King'shomeaddress(Exhibit36).



                                    KING V KING ET AL,COM PLAINT-9
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      Partll:RA CKETEER ING O F PLA IN TIFFS N EXT CO M PAN Y,CA NN AFORNIA,HISTORY ,
3
      TIM ELIN E AN D EX HIBITS
4

 s                   A) CANNAFORN IA BACKGROUND
6                    B) OPENING/CLOSING ACCOUNTS,FORGERY,COVERING UP
7                    C) EMBEZZLEMENT THROUGH PG&E
 8
                     D) EM BEZZLEM ENT THROUGH DAM A FINANCIAL
 9

lO

:1 A :C annafornia Background
12                1 Plaintiffclaim sthatK ing, through S.K ing and friendsDim itry and Rom an setup a full-
13
      blown schem e specifically to leavePlaintiffbankruptand unable to fightforhisrightfulownership of
14

ls K G.
l6
                  2. ln Dec 2017,Sophia introduced Plaintiffto Dim itry and Rom an.Sophia claim sthey are
17

18 herfriends and she isthe godm otherofDim itry's son.Sophia claim s shehelped Dim itry'sw ife
i9 AnastasiaBukharova(û:Anastasia'')through a life- threateningcancerbysittingbedsideform any months
2O
      with her.
2l

22                3. A ccording to recentdiscoveries,Plaintiffisnow underthebeliefthatD im itry and Rom an
2:3
      areK ing's friends,notSophia's,and the entire story was fabricated to setup theirnextembezzlem ent
24

25 schem e.

26
                  4. Dim itry,S.King,King,and otherfam ily m em bersand friends,allofRussian
27

28 backgroundsand collectively called çç-l-he Russians''use Cannafornia to stealfrom and setPlaintiffup.



                                    KING V KIN G ET AL,COM PLAINT-10
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               5. The Russians,instead ofinvesting in Plaintiffsgreenhouse cultivation com pany,always

                  intended to setPlaintiffup.




     B:O pening /Closing Bank Accounts,Forgery,Covering Up

6       1. Checksarewritten to Sophia(Exhibit37),Plaintiffs'signatureisforged
        2. Checksarewritten to employees(Exhibit38),Plaintiffs'signatureisforged
8
        3. O n M arch lstPlaintiffwentto the fanzlto fire Dim itry and hisfam ily,S.King supported

           Plaintiffto hisfaceand behind hisback helped Dim itry closebank accountsin tim e,with an

           emailon Feb 28th(Exhibit39).
        4. Plaintiffasks S.King forbank statem entsand S.K ing repliesthere were no bank accounts

           (Exhibit40)


     C .Em bezzlem entthrough PG& E

        1. TypicalPG&E billson the farm are between $2,000 and $6,000 am onth and there isonly one

           meter(Exhibit41)
        2. Suddenly billsstartappearing form ultiple m etersform ultiple accountsforhundredsofthousand

           ofdollars,which Dimitry and Sophia setup and pay through Cannaforniaaccounts(Exhibit42
           Exhibit43)


24   D .Em bezzlem entthrough D am a Financial

        l. ln August2019 King introduced Plaintiffto D am a Financialas acannabisbanking solution.
26

                 asafeguardin placethateverywiregoestohisemailand heapprovesit(Exhibit44).
28
        2. S.King m anipulatesPlaintiffto open a payrollaccountand then opensa second payrollaccount


                                 KING V KING ET AL,COM PLAINT-l1
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            reasonotherthantoembezzle(Exhibit45,Exhibit46)anddoessoviaA2A transactionswhich

2               approval.


        3. S.KingmisdirectingDamaFinancialstatementsasTD Bank statements(Exhibit47)
zl
D:
J       4. Plaintifflooksinto itwith DamaFinancialand theAccountRep,Jason,seemsnervous(Exhibit
             48)askingwhoitisfor,andthen afew hourslaterlies(Exhibit49)inan attemptto coveritup
             since there are no interest-bearing accounts.
8

9


     Part111.BRIBERY O F PLA IN TIFFS A TTORN EY S TO CO VER-U P

12                  A :BA CK GRO UN D

                    B:CA NNA FORN IA IS SOLD
14
                    C :PLA IN TIFF'S CON DO TRAN SFERRED TO K ING BY S Km G

                    D:ATTORN EY S BROU GHT IN TO COVER UP CRIM ES/SET U P PLAINTIFF
16

17                  E:BRIBERY AND CO RRUPTION

18                  F:KING ATTEM PTSTO BUY PLAINTIFFS SHARES FOR $100K

                    G :PLA IN TIFF H IRES VEN ABLE A PRIL 2021




     A.      Background

          1. Plaintiffand K ing were noton speaking term s from thetim e Plaintiffw aspushed outaround

26   UntilJuly/August2019 asYoungestbrotherDanielBuyanovsky w assetto getm anied on August17th,

     2019 in LosAngeles.
28




                                   KING V KING ET AL.COM PLAINT-12
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        2. Plaintiffand King gottogethera few daysearlierin LosAngelesalong with otherfam ily
l

2
              and worked on reuniting theirfriendship.
3

4
        3. W hilePlaintiffthoughtthe effol'
                                          tswere genuine,K ing,S.King and Dim itry had nefariousplans

     forthe weekend.

        4. Throughoutthe w eekend,everyone seem ed to be very polite,friendly,cordial,and Plaintiffw as

8
        seated nextto D im itry w hile King and parentssattogethernearby atthe ûfam ily table'closestto the

        bride and groom .
10



12
     B :Cannafornia is Sold

            l. On Septem ber24,2021 Plaintiffreceived an em ailregarding a change ofow nership in the
14

15
     licensesthathave alw aysbeen in hisnam e forCannafom ia entities.
16

17
            2. An em ailfrom an attorney K ieran Rittenburg asking the Bureau ofCannabisControlto

18
     changethelicenseownernameandtheresponse,cc'ingPlaintiff,rejectingRittenburg'srequest
19

20
     (Exhibit50)

21
            3. Plaintiffsemailsresponseallegingfraud(Exhibit51)
22
            4. Up untilthatem ail,Plaintiffbelieved he ow ned 33% ofCannafornia plusbonus stock
23

24   optionsand capitalreim bursem enthe w asow ed
25
            5. Afterreceiving the em ail,Plaintiffwentthrough thousandsofem ailsto figure outwhy they
26

27

28




                                  KING V KING ET AL,COM PLAINT- 13
 Case 1:22-cv-20016-JLK Document 1 Entered on FLSD Docket 01/03/2022 Page 14 of 19




     were trying to wrestle controlfrom Plaintiff.Asa result,Plaintiffuncovered achain ofem ailsbetw een
l
2 Dim itry and Canadian bankersand lawyerswhere they obscurely sellCannafornia and Plaintiffsshares

3 to Canadians'.
4
               6. On August14,2019 through an obscure Form D w ith one sentence in the m iddleofthe

6    documentregardingashare conversion, theCompanyissold for$6.451withouttheFounderandCEO's
7
     knowledgeorconsent(Exhibit52,Exhibit52A).
8

p              7. Despitehaving sharesworth $3.251,Plaintiffneverreceivesanything.
10             8 Fortw o yearsno one tellsPlaintiffm ostlikely waiting fortherightm om entto fire him for
11

z2
     wrongdoing,which isoffered relentlessly via getrich quick schem es,bribes,weekendswith prostitutes,

la Yachtexcursions,black m arketdeals,and so on,by variousCanadians and Russians.
14

15 C :Plaintiffscondo istransferred to K ing by S K ing
l6
       1. Decem ber22,2020 K ing and S.King forgePlaintiffssignature,notarize it,and transferownership
17
             ofPlaintiffs$750,000Trump condo of11yearsto Kingandwife,M arianna.
18

19     2.    QuitClaim Deed with Plaintiffssignature,notarized,transferringthecondo (Exhibit53)
2a
21     3. A second quitclaim deed iscreated by Barton CPA'SW atkinsfor$700k(Exhibit54)
22     4. TheTnlmp application isfilled outseveraldaysearliershowingKings400k salary (Exhibit55)
23     5. Notary Carmen Jonesisdeposed,clai
                                          m ing S King signed it,notPlaintiff(Exhibit56)
24

25

26 D :Attorneys are broughtin to cover up the crim es/Setup Plaintiff

27          1. Despite bribing PlaintiffnOtw orking,K ing conspired with Cannafornia's landlord to ûûfake
28
               evict''Plaintiffand setthe stage forCanadiansto take over.



                                     KING V KING ET A L,COM PLAINT-14
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      2. Once thepandem ic cam e and halted evictions,King needed a new plan to keep Plaintiffstrapped

         financially and coverup the sale and the em bezzlem ent.

3
      3. To thatend,King asksforPlaintiffshelp to dûsue''Roman and D im itry in M arch 2020.S.K ing
4
         encouragesPlaintiffto help hisbrother.Plaintiffishesitant.K ing offers a 50/50 dealw here once

6        Plaintiffwins,KingjustwantshismoneybackandPlaintiffkeepstherest(Exhibit57)

      4. Attorney Stephen Boren(ççBoren'')ishired byPlaintiffto sueRomanand Dimitryand charges
8

9
         Plaintiffover$250,000 ($500,000ifKing'sportion wascharged fororpaid).M eanwhile,Boren
         carriesoutK ings'm ission instead,which includes:

11
         * Covering up upthesaleofthecompanyandPlaintiffsshares(Exhibit58)
12

         @ S King,M attStevens and Boren coverup the em bezzlem entcom m itted by the Russians,
14
             including a$496k wireand deleting emailsregarding salesofsharesbetween Julyand
15
             August14 (Exhibit59,59A)

         * includesnone ofthe evidence in the lawsuit
18
         * m anagesto wrangle the law suitdown to LosAngeles so Plaintiffhasno visibility
19


         * requestslotsofinformation from Plaintiff,tagsin tçcrim inalattorney''M ark Byrrle(:tByrne'')
             and t:FBIaccom plice''Fred,though Fred ism ostlikely a made up characterasa way for

             Byrne and Boren to stealm ore m oney from Plaintiff

      5. Soon,Plaintiffisinvestigatedbythe SEC andnew lawsuitskeeppopping up (Exhibit60)
      6. Atthe righttim e,Boren tagsin Greenspoon M arderto take over,w ho do m ore ofthe sam e for
26
         KingsbenefitdespitebeingpaidsolelybyPlaintiff(Exhibit61).
28




                               KING V KIN G ET AL,COM PLAINT- 15
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      Bribery and Corruption

2     l. N ow ,G reenspoon M arderhasm ultipleattorneysin the case and the Canadiansare helping

         Plaintiffnegotiate a dealw ith Rom an and Dim itry fortheir33% ownership,so hebelieves.

      2. Afterm any m onths and severalday-long m ediations,the Canadiansofferto buy Rom an and

6        Dimitry'ssupposed33% oftheCompany (which wasalready sold August2019)for$31m and
         plan to take Cannaforniapublic en route.
8
      3. The case issupposedly stayed for3 m onths and agreem entsare sentaround so the Canadianscan

         com e up with the funds.Then,S King and yetanotherattorney try to getPlaintiffto sign a

11       tolling agreementwhich hedoesnotsign (Exhibit62).
12
      4. By now since King hasdropped outofthe legalobligations,Plaintiffspends hundredsof

         thousandsofpersonalfundsto keep Cannafornia alive.

      5. Atone point,Greenspoon asksforaccessinto Dim itry'sCannafornia accountto tim ake sure
16
         thingsare asw e say they are.''
17
      6. Plaintiffsendsinvestorupdatesregarding firing Dim itry,raising capital,and m ore;Atno point
18
         doesanyone tellKing thathe no longerowns sharesin Cannafornia and should notbeusing his
19

20       personalfundstokeep Cannaforniaalive(Exhibit63)
21    7. Plaintifffindsthatthecaseisongoing in LA (Exhibit64),callsandemailsattorney Blake
22
         Osborn(Exhibit65)andJamesTurken(Exhibit66)GreenspoonM arderattorneysonrecord to
         no avail.
24
      8. W hilereportingBorentotheCaliforniaBar,Plaintifffindsapaul@Duardventuresemailfrom
26       July 10,2020 showing thathesigneda$3m loan note.PlaintiffbelievesKingforgedthis
27
         docum ent.
28




                               KIN G V KING ET AL,COM PLAIN T-16
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               attem pts to buy Plaintiffssharesfor$100k then starts a new cam paign againstPlaintiff

          l. Afteram ulti-year sustained effortto bankruptPlaintiffand a new lo-day notice served on

 4
             Plaintiffby landlord on February 16th,K ing sendsPlaintiffa seriesofoffers;

             M arch 4,l1:42am :M oneyback + 10% interest,equaling approx.$300k (Exhibit67)
 6

             M arch 4,7pm :$100k (Exhibit68)
 8
             M arch 5,zpm :$l00k (Exhibit69)
 9

             M arch 11,7:03pm :$350k (Exhibit70)

             M arch 19,10:23am :$350k (Exhibit71)


14
          2. N ext,Plaintiffoffersto m ediate,instead King em ailsPlaintiffsshareholders,fileslaw suitsand

16           pressreleasesagainstPlaintiff


             Offerformediation sent(Exhibit72)
18

             EmailtoPlaintiffsinvestor/boardmemberDarren (Exhibit73)
20
             Textto Roman using alias(Exhibit74)

22
             Textto Roman usingalien (Exhibit75)

             TextsKingand S King (Exhibit76)
25
     f.      TextKing and S Kingz (Exhibit77)
26



28        3. Then,King and accom plices sue Plaintiffin Califonzia and Florida



                                   KING V KING ET AL.COM PLAIN T-17
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     a.    Forlegalfeesin California(Exhibit78)which Venablechargesaretainerto Plaintiffand does
     notseem to everbe on record
3
     b.    Fordefamation in Florida(Exhibit79)
4

     c.    And issuepressreleases(Exhibits80,81)
 6
     G :PlaintiffhiresV enable LLP to sue KingsG arden and M ichaelK ing.

8              1. Afterbeing offered $100k,then $350k forhissharesand refusing to mediate,Plaintiff
9
     hiresVenable LLP to representPlaintiff.
10

               2. Despitereceiving the sam e information and evidence in thiscom plaint,Venable m akes
12

     severalmajorintentionalmistakes,including:
14
                             i.       Filing the lawsuitin K G 'sbackyard,Palm SpringsCircuitCourt

16
                                      (Exhibit82).
                             ii.      lncluding noneofthe evidence thatisorganized and included in this

18                                    com plaintfiled by Plaintifflessthan 30 daysafterreceiving notice

                                      from Palm SpringsCoul'tto fix deficienciesand am end the com plaint.
20
                             iii.     Failing to filethe claim againstK ings Garden LLC,w hich includes on
21
                                      page 3 oftheirCalifornia M ergerFiling w ith the Secretary ofState on
22

23                                    October3l,2019thefollowing language(Exhibit83)regarding what
24                                    w illoccuronce KG LLC disappearsand KG INC rem ainsasthe
25
                                      surviving entity
26

27

28




                                    KING V KING ET AL,COM PLAINT-18
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                                        t:3.The Surviving Entity agreesto prom ptly pay any dissenting

                                        m em berofthe Disappearing Entity the am ountto which such

3                                       person isentitled underCalifornia law .''
4

5

6    IN CON CLU SION,Plaintiffcom espro-se affirm ing allstatem entsand claim sare correctand trueto the
7
     bestofPlaintiffsknowledgeandrecollectionandpleadsfortheCoul'
                                                                tforaproperjudgmentoncea11
8
     sideshave been heard and considered by the Honorable Courtand itsrespectiveJudge.
9




                                                              Dated:January 1,2021



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27

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                                 KING V KING ET AL,COM PLAINT- 19
